Case:23-10809-JGR Doc#:228 Filed:05/16/23            Entered:05/16/23 16:18:29 Page1 of 2




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Joseph G. Rosania, Jr.


  In re:

  NORTH SHORE MANOR, INC.,                      Case No. 23-10809-JGR
  SSN/EIN: XX-XXXXXXX                           Chapter 11, Subchapter V

           Debtor.



             ORDER REGARDING EVIDENTIARY ZOOM HEARING SCHEDULE

       Previously (Doc. 193), the Court set an evidentiary hearing for Thursday, May 18,
 2023, at 1:00 PM by Zoom videoconference regarding:

     •     Debtor’s Motion for Authority to Use Cash Collateral (Doc. 26) and Wapello
           Holdings II, LLC’s objections thereto (Docs. 43, 63, 64);
     •     Columbine Management Services Inc. and Wapello Holdings II, LLC’s Emergency
           Motion to Appoint Chapter 11 Trustee (Doc. 184) and the objections thereto filed
           by Debtor (Doc. 219) and North Shore Associates, LLP (Doc. 220); and
     •     Debtor and North Shore Associates, LLP’s Joint Motion for Approval of Lending
           and Security Agreement and for Authority to Incur Debt on an Administrative and
           Secured Basis (Doc. 200) and the Objection thereto (Doc. 218) filed by Centre
           Pharmacy, Inc.; Columbine Distribution Center, LLC.; Columbine Health Systems,
           Inc.; Columbine Management Services, Inc.; Columbine Medical Equipment, Inc.;
           Poudre Infusion Therapy, LLC; Wapello Holdings II, LLC; Wapello Holdings LLC;
           and J. Robert Wilson.

        The Court hereby ORDERS that on Thursday, May 18, 2023, at 1:00 PM it will
 proceed as scheduled only on the Emergency Motion to Appoint Chapter 11 Trustee
 (Doc. 184) and the objections thereto (Docs. 219, 220).

        Not until Friday, May 19, 2023, at 8:30 AM will the Court entertain the cash
 collateral motion (Doc. 26) and objections (Docs. 43, 63, 64); the loan motion (Doc. 200)
 and objection (Doc. 218); and wrap up any remaining items pertaining to the Chapter 11
 trustee motion (Doc. 184).

         All portions of the hearing will be held by Zoom videoconference only. The Zoom
 login information is the same as previously ordered but is reproduced below for ease of
 reference:
Case:23-10809-JGR Doc#:228 Filed:05/16/23        Entered:05/16/23 16:18:29 Page2 of 2




                            To Join the ZoomGov Hearing:

                    https://www.zoomgov.com/j/1613245580

                    Meeting ID: 161 324 5580
                    One tap mobile
                    +16692545252,,1613245580# US (San Jose)
                    +14154494000,,1613245580# US (US Spanish Line)

                      Dial by your location
                           +1 669 254 5252 US (San Jose)
                           +1 415 449 4000 US (US Spanish Line)
                           +1 669 216 1590 US (San Jose)
                           +1 646 828 7666 US (New York)
                           +1 646 964 1167 US (US Spanish Line)
                           +1 551 285 1373 US
                           833 435 1820 US Toll-free
                           833 568 8864 US Toll-free
                      Meeting ID: 161 324 5580
              Find your local number:
              https://www.zoomgov.com/u/acsQhhI2T


      Dated this 16th day of May, 2023.

                                               BY THE COURT:




                                               Joseph G. Rosania, Jr.
                                               United States Bankruptcy Judge




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